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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

 NUVASIVE, INC.,                   )
                                   )
           Plaintiff,              )
                                   )
 v.                                ) Case No. 6:17-cv-2206-Orl-41GJK
                                   )
 ABSOLUTE MEDICAL, LLC,            )
 ABSOLUTE MEDICAL SYSTEMS,         )
 LLC, GREG SOUFLERIS, DAVE         )
 HAWLEY, and RYAN MILLER,          )
                                   )
           Defendants.             )
 _________________________________ )

               NUVASIVE, INC.’S RESPONSE IN OPPOSITION
          TO DEFENDANTS’ MOTION TO STRIKE DECLARATION OF
                       CLAYTON AT DOC. 365-3

          Through its counsel of record, and for its Opposition to Defendant’s Motion

 to Strike Declaration of Clayton at Doc. 365-3 (Doc. 368), Plaintiff, NuVasive, Inc.,

 states that the Court should deny that Motion for at least the following reasons:

          1.          A motion to strike is not an appropriate vehicle to challenge the

 declaration. At least one decision issued from the Middle District of Florida holds

 that neither the Federal Rules of Civil Procedure nor the Court’s Local Rules

 recognize a litigant’s ability to move to strike a declaration. Foliar Nutrients, Inc.

 v. Plant Food Sys., Inc., No. 6:13-cv-748-Orl-37KRS, 2014 U.S. Dist. LEXIS

 101150, at ** 4–5 (M.D. Fla. Jul. 14, 2014) (citing Great Am. Ins. Co. v. Moye, No.



 861950.2/020171439
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 8:10-cv-330, 2010 U.S. Dist. LEXIS 83320 (M.D. Fla. Jul. 19, 2010) (“Because

 motions and affidavits are not pleadings, a party may not move to strike matters from

 motions or affidavits.”)). In that case, as here, the movants cited no legal authority

 that supported their ability to file a motion to strike. Id. This failure caused Judge

 Dalton to find that the “motions were [] filed in contravention of the rules” and deny

 them. Id.

        2.      Even if the Court chooses to treat the motion to strike as a properly

 raised objection,1 there is no merit to Defendants’ request to strike Clayton’s

 Declaration. Indeed, the only case Defendants cite in support of their motion

 recognizes that “the filing of an affidavit[2] with a reply is appropriate when the

 affidavit addresses matters raised in the opposition brief.” Modis, Inc. v. Beckwith,

 No. 3:07-cv-1125-J-20JRK, 2008 U.S. Dist. LEXIS 142016, *5 (M.D. Fla. Mar. 5,

 2008) (quoting Cardenas v. Dorel Juvenile Grp., Inc., 230 F.R.D. 635, 636 (D. Kan.

 2005)).

        3.      The Clayton Declaration submitted with the reply is not an unfair

 surprise attack. Defendants learned of Clayton’s identity (and raised no objection to

 his testimony) in the declaration he submitted in support of NuVasive’s Motion to


 1
   Footnote 1 of the Modis opinion recognizes that the Court has the authority to treat improper
 motions to strike as properly raised objections. Of course, it chose not to do so. And it appears to
 be solely in this Court’s discretion as to whether it will do so.
 2
   As affidavits and declarations are interchangeable under 28 U.S.C. § 1746, it is of no import that
 NuVasive submitted a declaration along with the reply brief in this case and the Modis defendant
 submitted an affidavit with his reply brief.


                                                  2
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 Vacate Arbitration Award (Doc. 353-4). If there were any unfair surprise, it was to

 Dave Hawley’s Declaration, which was the first time Defendants claimed that

 Hawley did not actually receive Greg Soufleris’ text messages in real time. Indeed,

 Defendants’ counsel neither mentioned this argument during the November 16,

 2021, telephone conference the Court conducted on this issue nor in discussions with

 NuVasive’s counsel going back to November 8, 2021. (Dec. Cardwell, C., attached

 as Exhibit A). Indeed, their past silence on this issue is one reason that, during the

 meet and confer process leading up to its reply, NuVasive requested the ability “to

 file a motion for leave to file a reply in further support of its motion to vacate to

 address . . . Hawley’s supporting declaration.” (Doc. 361, p. 2).

        4.      Finally, Clayton’s Declaration does not extend NuVasive’s reply past

 the five-page limitation set by the Court.3 Defendants cite no legal authority that

 supports this argument, and NuVasive’s research has not uncovered any authority

 for this novel position.

        In conclusion, given the timing of the filing of Defendants’ motion to strike,

 it appears that this motion is Defendants’ attempt at an end run around the Court’s




 3
   Paragraph 4 of the pending motion misrepresents the nature of Local Rule 3.01(d). The three-
 page limit referenced in that Rule is for motions seeking leave to file a reply. The actual replies
 must not exceed seven pages under Local Rule 3.01(d).


                                                 3
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 December 28, 2021, Order4 that denied their request to file a sur-reply. (Doc. 367).

 The Court properly denied that motion and, respectfully, it should deny this one too.

 Dated: January 6, 2022              Respectfully submitted,


                                     s/M. Thomas McFarland

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 4
  While Local Rule 3.01(d) provides that leave of court is required to file a reply, this Court’s
 Local Rules make no provision whatsoever for sur-replies.


                                                4
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                            CERTIFICATE OF SERVICE

         I hereby certify that on January 6, 2022, a copy of the foregoing was filed
 electronically. Notice of this filing will be sent by operation of the Court’s electronic
 filing system to all parties indicated on the electronic filing receipt. All other parties
 will be served by regular U.S. Mail. Parties may access this filing through the Court’s
 electronic filing system. The party or parties served are as follows:

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